      CASE 0:16-cv-00139-DWF-LIB Document 61 Filed 08/10/17 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MINNESOTA

                                                 :
NATIONAL CREDIT UNION                            :
ADMINISTRATION BOARD,                            :
as Receiver/Liquidating Agent of                 :
St. Francis Campus Credit Union,                 :
                                                 :
       Plaintiff,                                :
                                                 :
                v.                               : Case No.: 0:16-cv-00139 (DWF/LIB)
                                                 :     JURY TRIAL DEMANDED
CUMIS INSURANCE SOCIETY, INC.,                   :
                                                 :
       Defendant.                                :
                                                 :

                    DECLARATION OF NICHOLAS T. MORAITES
                IN SUPPORT OF DEFENDANT’S MOTION TO COMPEL

       Pursuant 28 U.S.C. § 1746, I, Nicholas T. Moraites, hereby declare as follows:

       1.       I am over 21 years of age.

       2.       I have personal knowledge of and am competent to testify to the facts set

forth herein.

       3.       I am an member of the law firm of Eckert Seamans Cherin & Mellott, LLC,

and I am licensed to practice law in the State of Virginia and the District of Columbia. I

have been admitted to the United States District Court for the District of Minnesota pro

hac vice in the above-captioned matter. I am counsel of record for defendant, CUMIS

Insurance Society, Inc (“CUMIS”).
      CASE 0:16-cv-00139-DWF-LIB Document 61 Filed 08/10/17 Page 2 of 2




      4.     Attached hereto as Exhibit A is a true and correct copy of excerpts of

plaintiff’s second amended privilege log.

      5.     Attached hereto as Exhibit B is a true and correct copy of plaintiff’s

responses to CUMIS’s first set of document requests.

      6.     I declare upon penalty of perjury that the foregoing is true and correct.



Dated: Washington, DC
August 10, 2017
                                    /Nicholas T. Moraites/




                                            2
